Case 1:20-cr-00008-MKB Document 105-28 Filed 02/13/23 Page 1 of 7 PageID #: 735
          Case 1:20-cr-00008-MKB Document 105-28 Filed 02/13/23 Page 2 of 7 PageID #: 736




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 3                                                 Nature of the Offering

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11           4.       From approximately November 7, 2017 to December 7, 2017,                               conducted a

12   “crowdsale” that was, in effect, open to the general public. During the crowdsale,                  sold $32 million

13   worth of         Tokens. During this offering, investors purchased their              Tokens with Ether.

14   did not restrict this offering to accredited investors. Instead,            attempted to restrict the crowdsale to

15   residents of certain areas. Before the crowdsale,             intended to use the crowdsale’s proceeds to complete

16   its platform which it called                  during the period prior to the crowdsale. Since the conclusion of

17   the crowdsale,            has not issued any additional               Tokens to the public, forcing prospective

18   purchasers to buy         Tokens through cryptocurrency exchanges.

19                           and          Token Purchasers Viewed and Treated the              Tokens as Investments

20           5.               promoted            Tokens as if they were investments prior to the crowdsale. For

21   example, in the months preceding the crowdsale,                        publicized on its website at the time,

22                     the          Token’s prospects as an investment rather than its value as a utility coin to be used

23   on                . For example, in              2017,           boasted about its appearances on several websites


      STATEMENT OF CHARGES AND NOTICE                                             DEPARTMENT OF FINANCIAL INSTITUTIONS
      OF INTENT TO ENTER ORDER TO                                                                        Securities Division
      CEASE AND DESIST, TO IMPOSE A FINE,                                                                     PO Box 9033
      AND TO CHARGE COSTS                                                                          Olympia, WA 98507-9033
                                                                                                              360-902-8760
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Case 1:20-cr-00008-MKB Document 105-28 Filed 02/13/23 Page 3 of 7 PageID #: 737
Case 1:20-cr-00008-MKB Document 105-28 Filed 02/13/23 Page 4 of 7 PageID #: 738
        Case 1:20-cr-00008-MKB Document 105-28 Filed 02/13/23 Page 5 of 7 PageID #: 739




 1           1.       The offer and/or sale of          Tokens described above constitutes the offer and/or sale of a

 2   security as defined in RCW 21.20.005(14) and (17).

 3           2.                      has violated RCW 21.20.140, because, as set forth in the Tentative Findings of

 4   Fact,                . offered and/or sold securities for which no registration is on file with the Securities

 5   Administrator.

 6           3.                                                                          . has violated RCW 21.20.140,

 7   because, as set forth in the Tentative Findings of Fact,

 8                . offered and/or sold securities for which no registration is on file with the Securities Administrator.

 9           4.                    . has violated RCW 21.20.010, because, as set forth in the Tentative Findings of

10   Fact,                ., made untrue statements of material fact or omitted to state material facts necessary to

11   make the statements made, in light of the circumstances in which they were made, not misleading.

12           5.                                                                          . has violated RCW 21.20.010

13   because, as set forth in the Tentative Findings of Fact,

14                . made untrue statements of material fact or omitted to state material facts necessary to make the

15   statements made, in light of the circumstances in which they were made, not misleading.

16            NOTICE OF INTENT TO ORDER THE RESPONDENTS TO CEASE AND DESIST

17           Based upon the above Tentative Findings of Fact and Conclusions of Law, the Securities

18   Administrator intends to order, pursuant to RCW 21.20.390(1), that                   . and its agents and employees

19   shall each cease and desist from violating RCW 21.20.140 and RCW 21.20.010.

20           Based upon the above Tentative Findings of Fact and Conclusions of Law, the Securities

21   Administrator intends to order, pursuant to RCW 21.20.390(1), that

22                                    . and its agents and employees shall each cease and desist from violating RCW

23   21.20.010 and RCW 21.20.390.


      STATEMENT OF CHARGES AND NOTICE                                             DEPARTMENT OF FINANCIAL INSTITUTIONS
      OF INTENT TO ENTER ORDER TO                                                                        Securities Division
      CEASE AND DESIST, TO IMPOSE A FINE,                                                                     PO Box 9033
      AND TO CHARGE COSTS                                                                          Olympia, WA 98507-9033
                                                                                                              360-902-8760
                                                                5
        Case 1:20-cr-00008-MKB Document 105-28 Filed 02/13/23 Page 6 of 7 PageID #: 740




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 3                                   NOTICE OF INTENT TO IMPOSE FINES

 4          Pursuant to RCW 21.20.395, and based upon the Tentative Findings of Fact and Conclusions of Law,

 5   the Securities Administrator intends to order that                   shall be liable for and shall pay a fine of

 6   $50,000. Pursuant to RCW 21.20.395, and based upon the Tentative Findings of Fact and Conclusions of

 7   Law, the Securities Administrator intends to order that

 8              . shall be liable for and shall pay a fine of $50,000.

 9                                  NOTICE OF INTENT TO CHARGE COSTS

10          Pursuant to RCW 21.20.390, and based upon the Tentative Findings of Fact and Conclusions of Law,

11   the Securities Administrator intends to order that                    . and

12                                  . shall be jointly and severally liable for and shall pay the costs, fees, and other

13   expenses incurred in the administrative investigation and hearing of this matter, in an amount not less than

14   $10,000.

15                                          AUTHORITY AND PROCEDURE

16          This Statement of Charges is entered pursuant to the provisions of Chapter 21.20 RCW and is subject

17   to the provisions of Chapter 34.05 RCW. The Respondents,                      ., and                                .

18                                   , Inc. may make a written request for a hearing as set forth in the NOTICE OF

19   OPPORTUNITY TO DEFEND AND OPPORTUNITY FOR HEARING accompanying this Order. If the

20   Respondent does not make a hearing request in the time allowed, the Securities Administrator intends to adopt

21   the above Tentative Findings of Fact and Conclusions of Law as final and to enter a permanent order to cease

22   and desist as to the Respondent, to impose any fines sought against the Respondent, and to charge any costs

23   sought against the Respondent.


      STATEMENT OF CHARGES AND NOTICE                                           DEPARTMENT OF FINANCIAL INSTITUTIONS
      OF INTENT TO ENTER ORDER TO                                                                      Securities Division
      CEASE AND DESIST, TO IMPOSE A FINE,                                                                   PO Box 9033
      AND TO CHARGE COSTS                                                                        Olympia, WA 98507-9033
                                                                                                            360-902-8760
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        Case 1:20-cr-00008-MKB Document 105-28 Filed 02/13/23 Page 7 of 7 PageID #: 741




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 7                                                  William M. Beatty
                                                    Securities Administrator
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     Approved by:                                   Presented by:
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     ________________________________               ________________________________
16
     Brian J. Guerard                               Edward R. Thunen
     Chief of Enforcement                           Financial Legal Examiner
17

18

19
     Reviewed by:
20
     ___________________________
21
     Huong Lam
     Financial Legal Examiner Supervisor
22

23


      STATEMENT OF CHARGES AND NOTICE                            DEPARTMENT OF FINANCIAL INSTITUTIONS
      OF INTENT TO ENTER ORDER TO                                                       Securities Division
      CEASE AND DESIST, TO IMPOSE A FINE,                                                    PO Box 9033
      AND TO CHARGE COSTS                                                         Olympia, WA 98507-9033
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